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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS                           JUL 1 2 2018
                              BEAUMONT DIVISION
                                                                         BY
 UNITED STATES OF AMERICA §                                              DEPUTY
                                            §
 v.                           §                     CRIMINAL NO. U17-CR-00151
                                            §
 MOHAMED IBRAHIM AHMED §
 a.k.a. Talha,    Mohammed El Eritri, §
        “Abu Zakaria                      §

                        FIRST SUPERSEDING INDICTMENT

 THE UNITED STATES GRAND JURY CHARGES:

                                        Count One

                                                         (Violation: 18 U.S.C. § 2339B
                                                         (a)(1) Attempt to Provide
                                                        Material Support or Resources
                                                        to Designated Forei n Terrorist
                                                        Organizations)

       Between and on or about late 2014, the exact date being unknown, through on or

 about May 23, 2017, in the Easte District of Texas, in the United States, the defendant,

 Mohamed Ibrahim Ahmed, a.k.a. Talha, a.k.a. “Mohammed El Eritri,” a.k.a. “Abu


 Zakaria,” did knowingly attempt to provide material support and resources, as that term is

 defined in 18 U.S.C. § 2339A(b), to wit: personnel and services to a foreign terrorist

 organization, specifically the Islamic State of Iraq and the Levant (“ISIL”), continuously

 designated since May 15, 2014 and as amended on September 21, 2015 to include the

 following aliases: The Islamic State of Iraq and al-Sham (“ISIS”), The Islamic State of

 Iraq and Syria, knowing that the organization was a designated terrorist organization, that

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 the organization had engaged in and was engaging in terrorist activity and terrorism, in

 violation of 18 U.S.C. §§ 2339B (a)(1) and 2.


                                          Count Two

                                                           (Violation: 18 U.S.C. § 1001
                                                           False Statements Involving
                                                           International Terrorism)

        That on or about October 24, 2017, Mohamed Ibrahim Ahmed, a.k.a. Talha,

  a.k.a. Mohammed El Eritri, a.k.a. Abu Zakaria, did willfully and knowingly make a

 materially false, fictitious, and fraudulent statement and representation, concerning a

 material fact involving international terrorism, in a matter within the jurisdiction of the

  executive branch of the Government of the United States, by telling special agents of the

  Federal Bureau of Investigation, during an interview at the Beaumont Federal

  Correctional Institution, Beaumont, Texas, in the Eastern District of Texas, that he had no

 knowledge of how to construct a bomb. As Mohamed Ibrahim Ahmed, a.k.a. “Talha,

  a.k.a. “Mohammed El Eritri, a.k.a. “Abu Zakaria” then and there knew, the statement


  and representation was false, fictitious and fraudulent when made, in violation of 18

  U.S.C. § 1001.
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                                         Count Three

                                                          (Violation: 18 U.S.C. § 1001
                                                          False Statements Involving
                                                          International Terrorism)

        That on or about October 24, 2017, Mohamed Ibrahim Ahmed, a.k.a. Talha,

 a.k.a. Mohammed El Eritri, a.k.a. “Abu Zakaria, did willfully and knowingly make a

 materially false, fictitious, and fraudulent statement and representation, concerning a

 material fact involving inte ational terrorism, in a matter within the jurisdiction of the

 executive branch of the Government of the United States, by telling special agents of the

 Federal Bureau of Investigation, during an interview at the Beaumont Federal

 Correctional Institution, Beaumont, Texas, in the Eastern District of Texas, that he had no

 knowledge of bomb-related che ical . As Mohamed Ibrahim Ahmed, a.k.a. “Talha,

 a.k.a. “Mohammed El Eritri, a.k.a. “Abu Zakaria” then and there knew, the statement


 and representation was false, fictitious and fraudulent when made, in violation of 18

 U.S.C. § 1001.

                                         Count Four

                                                          (Violation: 18 U.S.C. § 1001
                                                          False Statements Involving
                                                          International Terrorism)

        That on or about October 24, 2017, Mohamed Ibrahim Ahmed, a.k.a. “Talha,”

 a.k.a. “Mohammed El Eritri,” a.k.a. “Abu Zakaria,” did willfully and knowingly make a


 materially false, fictitious, and fraudulent statement and representation, concerning a

 material fact involving international terrorism, in a matter within the jurisdiction of the
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 executive branch of t e Government of the United States, by telling special agents of the

 Federal Bureau of Investigation, during an interview at the Beaumont Federal

 Correctional Institution, Beaumont, Texas, in the Eastern District of Texas, that he never

 discussed the construction of a bomb with another inmate. As Mohamed Ibrahim

 Ahmed, a.k.a. Talha, a.k.a. Mohammed El Eritri, a.k.a. “Abu Zakaria then and there

 knew, the statement and representation was false, fictitious and fraudulent when made, in


 violation of 18 U.S.C. § 1001.

                                         Count Five

                                                          (Violation: 18 U.S.C. § 373 (a)
                                                          Solicitation to Commit a Crime
                                                          of Violence)

        In or about Febuary 2018, in the Eastern District of Texas, the defendant,

 Mohamed Ibrahim Ahmed, a.k.a. “Talha, a.k.a. “Mohammed El Eritri, a.k.a. “Abu


 Zakaria,” with the intent that another person known to the grand jury engage in conduct

 constituting a felony that has as an element the use of physical force against the person

 of another in violation of the laws of the United States, and under circumstances strongly

 corroborative of that intent, did solicit, command, induce and endeavor to persuade such


 person known to the grand jury to engage in such conduct, that is, to murder a person

 within the special maritime and territorial jurisdiction of the United States in violation of

 18 U.S.C. § 1111, in violation of 18 U.S.C. § 373.




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                                           A T UE BILL


                                             A
                                           g nd jury foreperson

 JOSEPH D. BROW
 UNITED TATES ATTORNEY



 CHRISTOP ER T. TORTORICE
 ASSISTANT U.S. ATTORNEY
 EASTERN DISTRICT OF TEXAS




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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           BEAUMONT DIVISION

 UNITED STATES OF AMERICA §
                                           §
 v. § CRIMINAL NO. 1:17-CR- 00151
                                           §
 MOHAMED IBRAHIM AHMED §
 a.k.a. Talha,   Mohammed El Eritri, §
        Abu Zakaria                      §

                             NOTICE OF PENALTY


                                     Count One

       Violation: 18 U.S.C. § 2339B (a)(1) (Providing Material Support or
                    Resources to Designated Foreign Terrorist Organizations)

       Penalty: Imprisonment of not more than twenty (20) years, and if
                    the death of any person results, imprisonment of any term
                    of years or life; a fine not to exceed $250,000 (or twice the
                    pecuniary loss to the victim or gain to the defendant), or
                    both; and term of supervised release of not more than
                    three (3) years.

       Special Assessment: $100



                            Counts Two through Four

       Violation: 18 U.S.C. § 1001 (F lse Statements)

       Penalty: Imprisonment of not more than five (5) years; a fine not to
                   exceed $250,000 (or twice the pecuniary loss to the victim
                   or gain to the defendant); or both; and term of supervised
                   release of not more than three (3) years.

                    However, if the offense involves international or domestic
                    terrorism, as defined in 18 U.S.C. § 2331, a term of
                    imprisonment not more than eight (8) years; a fine not to
                    exceed $250,000 (or twice the pecuniary loss to the victim



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                    or gain to the defendant); or both; and term of supervised
                   release of not more than three (3) years.

       Special Assessment: $100

                                    Count Five

       Violation: 18 U.S.C. § 373 (Solicitation to Commit a Crime of
                    Violence)

       Penalty: Imprisonment of not more than one-half of the maximum
                   term of imprisonment for the crime solicited; a fine not to
                   e ceed one-half of the maximum fine for the crime
                   solicited, or both; and term of supervised release of not
                   more than three (3) years. If the crime solicited is
                   punishable by life imprisonment or death, imprisonment
                   for not more than 20 years.


                   The penalty for a violation of 18 U.S.C. § 1111 (Murder)
                   is death or imprisonment up to life, and a fine not to
                   exceed $250,000, or both.



       Special Assessment: $100




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